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                                   STATEMENT OF FACTS

         A cooperating source made arrangements to purchase approximately three (3) pounds of
methamphetamines from an individual, later identified as Jacob Jordan (Defendant Jordan). On
Tuesday, February 25, 2020, at approximately 9:00 p.m., the source met with Defendant Jordan at
1925 14th Street Northwest in Washington, D.C. and they walked to apartment 202 together.
Defendant Jordan provided the source with three (3) large Ziploc bags of methamphetamines, which
later weighed approximately 1,461 grams. At approximately 9:05 p.m. the source left the apartment
and members of the Metropolitan Police Department (MPD) and Homeland Security Investigations
Special Agents (HIS SA) entered the apartment to search the premises with a Superior Court for the
District of Columbia search warrant (Warrant No. 2020 CSW 1107) at approximately 9:06 p.m.

        A search was conducted of the apartment and the following was recovered: one black in color
firearm in the kitchen, over $12,000 U.S. Currency in a safe in bedroom one, a money counting
machine under the bed in bedroom one, assorted mail matter in the name of Defendant Jordan in the
kitchen, twenty-one (21) ziplocs bags containing a total of over four (4) pounds of
methamphetamines and nine (9) gray pills of MDMA within a safe in the kitchen cabinet.

        Law enforcement officers had previously verified with the apartment building management
that Defendant Jordan was the lease holder of the apartment searched. Defendant Jordan was placed
under arrest. During processing, Defendant Jordan was read his Miranda Rights which he waived and
agreed to answer questions without an attorney present. Defendant Jordan admitted to giving the
source the methamphetamines.

        The firearm was determined to be a Smith & Wesson, Model unknown, .40 caliber handgun
with a serial number of HYA5580. It was loaded with three (3) rounds of ammunition and no round
in the chamber. Next to the firearm was one (1) additional live .40 caliber round of ammunition.
There are no firearm or ammunition manufacturers in the District of Columbia.

       Detective Witkowski was present for the search of the apartment, the recovery of the
contraband and the arrest of Defendant Jordan.



                                              _____________________________________
                                              DETECTIVE VINCENT WITKOWSKI
                                              METROPOLITAN POLICE DEPARTMENT

SWORN AND SUBSCRIBED BEFORE ME ON THE 26th DAY OF FEBRUARY, 2020.


                                                     _______________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
